       Case 1:21-cv-02655-LGS-SN Document 302 Filed 11/15/22 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 GLOBAL GAMING PHILIPPINES, LLC,

                Plaintiff,
                                                   No. 21 Cv. 2655 (LGS)(SN)
        vs.

 ENRIQUE K. RAZON, JR.; et al.,

                Defendants.



   NOTICE OF PLAINTIFF GLOBAL GAMING PHILIPPINES, LLC’S MOTION TO
     EXCLUDE TESTIMONY OF FREDERIC GUSHIN AND DANIEL REEVES


       PLEASE TAKE NOTICE that Plaintiff Global Gaming Philippines, LLC (“GGAM”),

upon the accompanying Memorandum of Law and the Declaration of Kevin N. Ainsworth and

exhibits thereto, by and through their counsel, will move this Court for an order pursuant to Federal

Rules of Evidence 104, 401, 402, and 702 to exclude the report and testimony of Frederic Gushin

and Daniel Reeves, offered by Defendants Bloomberry Resorts and Hotels, Inc. (“BRHI”), and

Sureste Properties, Inc. (“SPI” or “Sureste”). This motion is made following the conference of

counsel, which took place on November 7, 2022.
     Case 1:21-cv-02655-LGS-SN Document 302 Filed 11/15/22 Page 2 of 2




Dated: November 15, 2022             Respectfully submitted,
       New York, New York
                                     MINTZ, LEVIN, COHN, FERRIS,
                                     GLOVSKY AND POPEO, P.C.

                                     /s/ Kevin N. Ainsworth
                                     Kevin N. Ainsworth
                                     Jason P.W. Halperin
                                     Daniel T. Pascucci
                                     Joseph R. Dunn
                                     Barry A. Bohrer
                                     Kaitlyn A. Crowe

                                     666 Third Avenue
                                     New York, NY 10017
                                     T: (212) 935-3000
                                     F: (212) 983-3115
                                     kainsworth@mintz.com
                                     jhalperin@mintz.com
                                     dtpascucci@mintz.com
                                     jrdunn@mintz.com
                                     bbohrer@mintz.com
                                     kacrowe@mintz.com

                                     Attorneys for Plaintiff
                                     Global Gaming Philippines, LLC




                                     2
